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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                   AT ASHLAND

CRIMINAL ACTION NO. 10-7-DLB-4

UNITED STATES OF AMERICA                                                         PLAINTIFF


vs.              ORDER ADOPTING REPORT AND RECOMMENDATION


SHANTA JACKSON                                                                DEFENDANT

                                   ************************

       This matter is before the Court upon the Report and Recommendation (“R&R”) of

United States Magistrate Judge Edward B. Atkins, wherein he recommends that the Court

revoke Defendant Shanta Jackson’s supervised release and impose a sentence of seven

(7) months of incarceration, with no supervised release to follow. (Doc. # 300). At the final

revocation hearing conducted by Magistrate Judge Atkins on October 15, 2015, the

Defendant admitted to violating the terms of her supervised release as set forth in the

Supervised Release Violation Report and Addendum. (Doc. # 240). Defendant also waived

her right to allocution. (Doc. # 298). No objections having been filed and the time to do so

having now expired, the R&R is ripe for the Court’s consideration. The Court having

reviewed the R&R and concluding that it is sound in all respects, and being otherwise

sufficiently advised,

       IT IS ORDERED as follows:

       (1)    The Report and Recommendation (Doc. # 300) is hereby adopted as the

findings of facts and conclusions of law of the Court;

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       (2)    Defendant is found to have violated the terms of her supervised release;

       (3)    Defendant’s supervised release is hereby revoked; and

       (4)    Defendant is sentenced to the custody of the Attorney General for a period

of seven (7) months, with no supervised release to follow.

       This 30th day of November, 2015.




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